                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )     Case No. 1:17CR00036
                                                )     Case No. 1:17CR00029
v.                                              )
                                                )     OPINION AND ORDER
                                                )
DWIGHT L. BAILEY,                               )     By: James P. Jones
                                                )     United States District Judge
                 Defendant.                     )

      Daniel P. Bubar, First Assistant United States Attorney, Roanoke, Virginia,
and Janine M. Myatt, Special Assistant United States Attorney, Abingdon, Virginia,
for United States; Dennis E. Jones, Abingdon, Virginia, for Defendant.

      A jury has convicted the defendant, a physician, of conspiring to distribute

and distributing controlled substances without a legitimate medical purpose and

beyond the bounds of medical practice, as well as maintaining a place for the

purpose of unlawfully distributing controlled substances. He has moved for a

judgment of acquittal pursuant to Federal Rule of Criminal Procedure 29, and

alternatively for a new trial pursuant to Federal Rule of Criminal Procedure 33,

arguing that the government’s evidence was insufficient to sustain his convictions

by the jury. For the following reasons, I will deny the motions.

                                         I.

      Defendant Dwight L. Bailey was a primary care physician who began

practicing medicine in 1980.    From 1993 to 2014, Dr. Bailey owned a medical



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practice in Lebanon, Virginia. Dr. Bailey’s wife, Deborah Bailey, served as the

business manager of the practice, which was divided into two entities — Family

Healthcare Associates of Southwest VA, P.C., a traditional medical practice, and

Ridgewood Health Care Clinic, a designated rural health clinic. During the course

of its operation, the practice employed laboratory and office staff, nurses, and

nurse practitioners. It also employed another physician, Kevin Combs, D.O. The

practice treated patients for a wide variety of ailments, including pain management.

In 2006, Dr. Bailey started a drug treatment program within the practice, in which

he utilized Suboxone (buprenorphine and noloxone) to treat individuals who

suffered from opioid addiction. Dr. Bailey’s practice ended in 2014, when the

Virginia Board of Medicine suspended his medical license.

      Dr. Bailey was indicted in case number 1:17CR00029 on September 26,

2017. Three of the five counts in that Indictment were later dismissed without

prejudice on the government’s motion. Dr. Bailey was indicted in case number

1:17CR00036 on November 28, 2017. The two Indictments were joined for trial.

See Fed. R. Crim. P. 13. After a nine-day trial beginning on July 16, 2018, the jury

returned a verdict convicting Dr. Bailey of all charges. Those charges were as

follows:

           x Case number 1:17CR00029, Count Two. Distributing Suboxone, a
             Schedule III controlled substance, without a legitimate medical
             purpose and beyond the bounds of medical practice, to Patient #1

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            (also referred to as “WC”), on October 4, 2012, in violation of 21
            U.S.C. § 841(a)(1), (b)(1)(E);

         x Case number 1:17CR00029, Count Three. Distributing Suboxone, a
           Schedule III controlled substance, without a legitimate medical
           purpose and beyond the bounds of medical practice, to Patient #1
           (“WC”), on November 5, 2012, in violation of 21 U.S.C. § 841(a)(1),
           (b)(1)(E);

         x Case number 1:17CR00036, Count One. Conspiring to distribute
           Roxicodone (oxycodone), Dilaudid (hydromorphone), Opana ER
           (oxymorphone), and Percocet (acetaminophen and oxycodone), all
           Schedule II controlled substances, without a legitimate medical
           purpose and beyond the bounds of medical practice, to individuals
           “AC,” “CM,” “JP,” “JT,” “RC,” and “TP,” in violation of 21 U.S.C.
           §§ 841(a)(1), (b)(1)(C), 846;

         x Case number 1:17CR00036, Count Two. Conspiring to distribute
           Lortab (hydrocodone and acetaminophen), Norco (hydrocodone and
           acetaminophen), and Suboxone, all Schedule III controlled
           substances, without a legitimate medical purpose and beyond the
           bounds of medical practice, to individuals “CM,” “JT,” “TP,” and
           “WC,” in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(E), 846;

         x Case number 1:17CR00036, Count Three. Conspiring to distribute
           Ambien (zolpidem), Klonopin (clonazepam), Xanax (alprazolam),
           Valium (diazepam), and Restoril (temazepam), all Schedule IV
           controlled substances, without a legitimate medical purpose and
           beyond the bounds of medical practice, to individuals “AC,” “CM,”
           “JP,” “JT,” “RC,” and “TP,” in violation of 21 U.S.C. §§ 841(a)(1),
           (b)(2), 846;

         x Case number 1:17CR00036, Counts Four through Twenty-Seven. As
           a principal or aider and abettor, distributing Schedule II controlled
           substances, Percocet and Roxicodone, without a legitimate medical
           purpose and beyond the bounds of medical practice, to individuals
           “CM” and “JP,” all in violation of 18 U.S.C. § 2 and 21 U.S.C. §
           841(a)(1), (b)(1)(C);


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         x Case number 1:17CR00036, Count Twenty-Eight. As a principal or
           aider and abettor, distributing a Schedule III controlled substance,
           Norco, without a legitimate medical purpose and beyond the bounds
           of medical practice, to individual “CM,” all in violation of 18 U.S.C.
           § 2 and 21 U.S.C. § 841(a)(1), (b)(1)(E);

         x Case number 1:17CR00036, Counts Twenty-Nine through Sixty. As a
           principal or aider and abettor, distributing Schedule IV controlled
           substances, Klonopin, Ambien, Diazepam, and Restoril, without a
           legitimate medical purpose and beyond the bounds of medical
           practice, to individuals “CM” and “JP,” all in violation of 21 U.S.C. §
           841(a)(1), (b)(2); and

         x Case number 1:17CR00036, Count Sixty-One. As a principal or aider
           and abettor, knowingly and intentionally maintaining a place for the
           purpose of unlawfully distributing controlled substances, all in
           violation of 18 U.S.C. § 2 and 21 U.S.C. § 856(1).

      Dr. Bailey has moved for a judgment of acquittal and alternatively for a new

trial, arguing that the government failed to present evidence sufficient to allow a

jury to find beyond a reasonable doubt that he conspired to distribute, actually

distributed, or aided and abetted the distribution of controlled substances without a

legitimate medical purpose and beyond the bounds of medical practice. Instead, he

asserts that the evidence showed that he made a good-faith effort to treat patients

within the accepted standards of medicine. The motion has been fully briefed and

orally argued and is now ripe for decision.

                                         II.

      On review of a motion for a judgment of acquittal under Rule 29, the court

“must sustain the verdict if there is substantial evidence, viewed in the light most

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favorable to the Government, to uphold the jury’s decision.” Burks v. United

States, 437 U.S. 1, 17 (1978). In the context of a criminal conviction, substantial

evidence is evidence that “a reasonable finder of fact could accept as adequate and

sufficient to support a conclusion of a defendant’s guilt beyond a reasonable

doubt.” United States v. Newsome, 322 F.3d 328, 333 (4th Cir. 2003).1 The court

should consider “circumstantial as well as direct evidence, and allow the

government the benefit of all reasonable inferences from the facts proven to those

sought to be established.” United States v. Tresvant, 677 F.2d 1018, 1021 (4th Cir.

1982). However, the court must not weigh the evidence or assess the credibility of

witnesses, since this is the job of the jury. Burks, 437 U.S. at 17.

       Rule 33(a) provides that “[u]pon the defendant’s motion, the court may

vacate any judgment and grant a new trial if the interest of justice so requires.”

Fed. R. Crim. P. 33(a). “The paradigmatic use of a Rule 33 motion is to seek a

new trial on the ground that the jury’s verdict was against the manifest weight of

the evidence.”     United States v. Munoz, 605 F.3d 359, 373 (6th Cir. 2010).

Further, courts have “widely agreed that Rule 33’s interest of justice standard

allows the grant of a new trial where substantial legal error has occurred.” Id.

“[A]ny error of sufficient magnitude to require reversal on appeal is an adequate



       1
         I have omitted internal quotation marks, citations, and alterations throughout this
opinion, unless otherwise noted.
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ground for granting a new trial.” United States v. Wall, 389 F.3d 457 (5th Cir.

2004).

                                         A.

      Dr. Bailey contends that no reasonable juror could find the government’s

evidence sufficient to convict him of Counts Two and Three in case number

1:17CR00029, which charged him with unlawfully distributing Suboxone to WC.

Dr. Bailey argues that the government’s evidence that WC’s prescriptions lacked a

legitimate medical purpose and were beyond the bounds of medical practice was

insufficient because it consists solely of expert testimony regarding general

prescribing patterns for WC, and WC did not testify at trial.

      In support of this argument, Dr. Bailey relies on United States v. Tran Trong

Cuong, 18 F.3d 1132 (4th Cir. 1994). In Tran, a doctor appealed his convictions

on 127 counts of distributing controlled substances outside the bounds of medical

practice, arguing that for 80 of the counts, the evidence was insufficient to convict

him because the patients whose prescriptions gave rise to those counts did not

testify at trial. Id. at 1137. Instead, the government’s case for those 80 counts was

based on expert testimony and the expert’s report on his examination of patient

files. Id. at 1141. The court stated regarding this expert testimony:




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      Dr. MacIntosh did not mention any of the 20 patients who did not
      testify . . . . He did not discuss these patients by name nor did he
      comment on the prescriptions they had received. He neither examined
      nor interviewed any of these patients. No effort was made by the
      prosecution to focus his testimony on any of these 80 counts.

Id. The court also noted that:

      Although the [expert] witness admitted that he did not have sufficient
      information from some of the charts to conclude that the prescriptions
      were improper, these charts were included in the [report] and also
      formed the basis of separate counts in the indictment, simply because
      they followed a pattern.

Id. The court in Tran held that this evidence was insufficient to convict the

defendant on the 80 counts at issue because it risked a conviction based on guilt by

association or by proof of a pattern. Id. at 1142. The court stated that instead, “[a]

defendant is entitled to individual consideration of every count in an indictment by

the jury and evidence sufficient to convict on each count beyond a reasonable

doubt.” Id. In a later case, the Fourth Circuit clarified its holding in Tran, stating,

“In Tran Trong Cuong, we reversed the convictions, not because the victims did

not testify, but rather because their lack of testimony was not replaced by any

substantive evidence.” United States v. Singh, 54 F.3d 1182, 1188 (4th Cir. 1995).

      The failure of proof in Tran is not present in this case. Although WC did not

testify, the government put forth other substantive evidence to support the charges

stemming from WC’s prescriptions. First, the government’s expert, Anthony L.

Dragovich, M.D., unlike the expert in Tran, discussed WC specifically and each of


                                          -7-

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WC’s prescriptions individually. Dr. Dragovich is an expert in pain medicine and

anesthesiology. He testified that during the time period at issue, WC was a patient

being treated for opioid addiction in Dr. Bailey’s Suboxone program.           Dr.

Dragovich reviewed WC’s patient chart and the prescriptions Dr. Bailey wrote for

WC, and based on this review, he determined that all of the prescriptions written

after March 19, 2007, were not for a legitimate medical purpose. Dr. Dragovich

came to this conclusion because these prescriptions were written after a number of

drug screens had shown that WC was not taking the Suboxone he had been

prescribed and was using marijuana. According to Dr. Dragovich, these drug

screens indicated that WC was using the Suboxone inappropriately, and that Dr.

Bailey should have put safeguards in place to minimize the risk of abuse. Dr.

Bailey continued prescribing Suboxone to WC for two more years, during which

time Suboxone did not appear in WC’s drug screens. Dr. Dragovich testified that

these drug screens suggested that WC was either overusing the prescribed

Suboxone ahead of schedule so that it had already left his system by the time of

each drug screen, or was not taking it and instead diverting it for money or other

drugs. Dr. Dragovich noted that on March 4, 2009, a message in WC’s file

notified Dr. Bailey that all of WC’s drug screens had been negative for Suboxone,

and Dr. Bailey still continued the prescriptions. Dr. Dragovich also testified that

even after Dr. Bailey spoke with WC on February 8, 2010, and Suboxone began


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appearing in WC’s drug screens, Dr. Bailey failed due diligence by not ordering

confirmation tests to ensure that WC was using his prescriptions appropriately. Dr.

Dragovich testified that each of the prescriptions giving rise to Counts Two and

Three were issued without a legitimate medical purpose and beyond the bounds of

medical practice. Accordingly, there was no risk that Dr. Bailey was convicted of

Counts Two and Three based solely on a generalized pattern.

      Further, the government presented direct corroborating evidence in addition

to its expert’s testimony to show that WC’s prescriptions lacked a legitimate

medical purpose and were beyond the bounds of medical practice. WC’s patient

file showed drug screen results that were negative for Suboxone but positive for

marijuana and other controlled substances during the time that Dr. Bailey was

prescribing him Suboxone to treat his opioid addiction. WC’s patient file also

contained prescription monitoring program reports showing that he was obtaining

prescriptions for opiates from other providers during the time that Dr. Bailey was

prescribing him Suboxone to treat his addiction.

       In addition, two of Dr. Bailey’s employees testified that they had alerted Dr.

Bailey to WC’s inappropriate drug screen results. Jessica Sullivan Powers, a nurse

at Dr. Bailey’s practice, testified that she had been worried about the absence of

Suboxone in WC’s drug screens, and she had left a message in WC’s file notifying

Dr. Bailey of these inappropriate screens. Nadine Rasnake, the lab supervisor for


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 Dr. Bailey’s practice, testified that WC’s drug screen results had concerned her,

 and although she had notified Dr. Bailey of those results, WC continued to test

 negative for Suboxone. Further, Dr. Bailey admitted in his own testimony that WC

 had failed to comply with a number of the requirements set out in his Patient

 Treatment Agreement concerning drug use during the time that Dr. Bailey was

 prescribing him Suboxone.

       I find that a reasonable jury could accept the evidence as adequate and

 sufficient to show that the prescriptions at issue lacked a legitimate medical

 purpose and were beyond the bounds of medical practice.

                                            B.

       Dr. Bailey also contends that no reasonable juror could find the

 government’s evidence sufficient to convict him of Counts One, Two, and Three in

 case number 1:17CR00036, which charged him with conspiring to unlawfully

 distribute Schedule II, Schedule III, and Schedule IV controlled substances. Dr.

 Bailey asserts that the evidence was insufficient because neither he nor any of the

 providers who worked with him testified to any agreement or plan to unlawfully

 distribute controlled substances, and thus the evidence does not establish that Dr.

 Bailey was a member of any conspiracy. 2


       2
           Dr. Bailey does not contend that the evidence was insufficient to show that the
 prescriptions at issue in these charges were written without a legitimate medical purpose
 and beyond the bounds of medical practice.
                                           -10-

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       To establish a conspiracy, the government must prove that at some time

 during the dates charged, two or more persons entered into an agreement or

 understanding with the purpose of undertaking the prohibited conduct, and the

 defendant voluntarily joined the conspiracy knowing its purpose and intending to

 help accomplish that purpose. United States v. Mills, 995 F.2d 480, 483 (4th Cir.

 1993). The agreement or understanding, and the defendant’s participation in it,

 “need not be explicit; it may be inferred from circumstantial evidence.” United

 States v. Burgos, 94 F.3d 849, 858 (4th Cir. 1996).

       I find that the government presented sufficient evidence for a reasonable jury

 to conclude that Dr. Bailey was a member of the charged conspiracy. Dr. Combs,

 who worked in Dr. Bailey’s practice beginning in 2008, testified that Mrs. Bailey,

 who managed the practice, had told him that the practitioners should follow Dr.

 Bailey’s practice guidelines for the clinic and function as a unit. Dr. Combs also

 testified that Mrs. Bailey had encouraged the practitioners to keep patients coming

 to the practice, and he had written narcotic prescriptions in order to do so. When

 Dr. Combs started at the practice, he was given patients who had been seeing Dr.

 Bailey, and Dr. Combs learned his prescribing practices by reviewing what those

 patients had been prescribed and continuing the same prescribing practices. Dr.

 Combs testified that when he took it upon himself to dismiss patients who were

 abusing their medications, Mrs. Bailey had “reeducated” him and stopped him


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 from doing so. Trial Tr. 79, July 18, 2018, No. 1:17CR00036, ECF No. 105.

 Nurse practitioner Shelly Miller also testified that her patients had been prescribed

 controlled substances for a long time when she took over their care, and she

 continued the same prescriptions because Dr. Bailey had been doing so.

       Both Dr. Combs and Miller testified that they had changed their treating and

 prescribing practices after they left Dr. Bailey’s practice. In addition, Tim Allen, a

 retired pharmacist who owned and worked at a pharmacy in Lebanon, Virginia,

 testified that the medical practitioners had prescribing practices similar to Dr.

 Bailey’s when they worked at his practice, but when they left, they wrote fewer

 prescriptions for controlled substances.

       This evidence was sufficient for a reasonable jury to conclude that an

 understanding existed between Dr. Bailey, Mrs. Bailey, and the other providers at

 the practice to write prescriptions for controlled substances in accordance with Dr.

 Bailey’s prescribing practices, in violation of law.

                                            C.

       Dr. Bailey also argues that no reasonable juror could find the government’s

 evidence sufficient to convict him of all the counts in case number 1:17CR00036

 relating to patient CM. 3 These counts charged him, as a principal or aider and

 abettor, with unlawfully distributing and causing the distribution of Schedule II,

       3
         Counts 4, 5, 6, 7, 28, 29, 30, 31, 32, 33, 34, 35, and 36 of case number
 1:17CR00036 relate to patient CM.
                                            -12-

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 Schedule III, and Schedule IV controlled substances to CM. Dr. Bailey contends

 that the evidence was insufficient because the government expert’s testimony that

 the prescriptions at issue were written without a legitimate medical purpose and

 beyond the bounds of medical practice was based on generalized patterns.

       I find that the government presented sufficient evidence for a reasonable jury

 to conclude that CM’s prescriptions lacked a legitimate medical purpose and were

 beyond the bounds of medical practice. As was the case for patient WC, the

 government’s expert discussed CM specifically and each of CM’s prescriptions

 individually. Dr. Dragovich reviewed CM’s patient chart and prescriptions, and

 based on this review, he determined that all of the prescriptions written after April

 1, 2014, were not for a legitimate medical purpose. Dr. Dragovich testified that

 during the seven years that the practice had treated CM leading up to this date, CM

 had repeated issues complying with her treatment regimen, including multiple

 negative drug screens, an overdose, and lost medications. Dr. Dragovich stated

 that after a number of CM’s drug screens were negative for her medications, the

 practice should have known that she had issues complying with the regimen. He

 noted that despite these issues, the practice had continued CM on a high-risk

 regimen. Dr. Dragovich then testified that in his opinion each of the prescriptions

 at issue were written without a legitimate medical purpose and beyond the bounds

 of medical practice.


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       Further, the government presented direct corroborating evidence in addition

 to its expert’s testimony to support the charges relating to CM. CM’s patient file

 showed that during the time that Dr. Bailey’s practice prescribed her controlled

 substances, she had a number of inappropriate drug screens, she failed pill counts

 meant to confirm that she was taking her medications as prescribed, she was

 hospitalized for overdoses five times, and she reported her medications stolen three

 times in order to obtain new prescriptions. CM testified that during this time, she

 had been convicted of driving under the influence of drugs. She also testified that

 when Dr. Combs left Dr. Bailey’s practice in 2011, she had followed him to his

 new practice, but she returned to Dr. Bailey’s practice in part because Dr. Combs’s

 practice had taken her off pain medication.        She also testified that since Dr.

 Bailey’s practice closed, she has not been prescribed any prolonged course of

 narcotic medication by other medical practitioners.

                                           D.

       Lastly, Dr. Bailey argues that no reasonable juror could find the

 government’s evidence sufficient to convict him of all the counts in case number

 1:17CR00036 relating to patient JP.4        These counts charged Dr. Bailey, as a

 principal or aider and abettor, with unlawfully distributing and causing the

 distribution of Schedule II and Schedule IV controlled substances to JP. Again,


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           Counts 8–27 and 37–60 of case number 1:17CR00036 relate to patient JP.
                                           -14-

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 Dr. Bailey contends that the evidence was insufficient because the government

 expert’s testimony was based on generalized patterns.

       I find that the government presented sufficient evidence for a reasonable jury

 to conclude that JP’s prescriptions lacked a legitimate medical purpose and were

 beyond the bounds of medical practice. Dr. Dragovich reviewed JP’s patient chart

 and prescriptions, and testified that the patient was on a complex, high-risk

 prescription regimen. He testified that after Dr. Bailey’s practice had received an

 anonymous call that JP may have been abusing her medications and had been

 subjected to detoxification, and after she had failed to comply with a pill count as

 requested, her prescription regimen should have been changed or she should have

 been counseled.    Dr. Dragovich also testified that Dr. Bailey’s office records

 contained a note from Southwest Virginia Mental Health Facility stating that JP

 had been admitted after an overdose, and if the practice had known about this

 admission, all prescriptions written after that were without a medical purpose.

       Dr. Bailey argues that the expert’s evidence is insufficient because it was not

 shown that Dr. Bailey’s practice knew that JP had been admitted to a mental

 hospital during her treatment.

       The government presented direct corroborating evidence in addition to its

 expert’s testimony to support the charges relating to JP. JP’s patient file showed

 that during the time that Dr. Bailey’s practice was prescribing her controlled


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 substances, she had a number of inappropriate drug screens, she was getting

 prescriptions for opiates from another source, she was hospitalized for overdoses

 on four occasions, and there had been an anonymous complaint that she was

 abusing her medications and had detox treatment, among other things.                JP’s

 daughter, Crystal Baker, testified that she had personally told Dr. Bailey that her

 mother was a drug addict and was abusing the medications that he was prescribing

 for her, but her mother still continued to receive such prescriptions. In addition, JP

 herself testified that she had been addicted to her medications and had been

 frequently hospitalized for overdoses during the time that she had been treated at

 Dr. Bailey’s practice. JP also testified that after the practice had closed, she went

 through drug withdrawal and has since been in substance abuse treatment.

       In light of this evidence, Dr. Bailey’s contention that it was not directly

 shown that his medical practice was aware that JP had been admitted to Southwest

 State Mental Health Facility does not constitute a failure of the necessary proof of

 guilt. Even assuming that the practice did not know of this fact, a reasonable jury

 could accept the remaining evidence about patient JP as sufficient to conclude that

 the prescriptions at issue were written without a legitimate medical purpose and

 beyond the bounds of medical practice.5



       5
         Dr. Bailey does not raise any separate arguments regarding the sufficiency of the
 evidence to convict him of Count 61 in case number 1:17CR00036, which charged him
                                           -16-

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                                           E.

       Although Dr. Bailey moves for a new trial in the alternative to a judgment of

 acquittal, his motion does not make any specific arguments as to why the court

 should grant a new trial. However, I do not find that the interest of justice requires

 a new trial. In light of the evidence discussed above, I find that the jury’s verdict

 was not against the manifest weight of the evidence. Further, Dr. Bailey has not

 raised any substantial legal errors that would require granting a new trial.

                                          III.

       For the foregoing reasons, it is ORDERED that the defendant’s Motion for

 Judgment of Acquittal and/or in the Alternative Motion for a New Trial, ECF No.

 119 (Case No. 1:17CR00036) and ECF No. 104 (Case No. 1:17CR00029), is

 DENIED.



                                                 ENTER: January 24, 2019

                                                 /s/ James P. Jones
                                                 United States District Judge




 with knowingly and intentionally maintaining a place for the purpose of unlawfully
 distributing controlled substances.
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